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UNITED STATES DISTRICT COURT

“SOUTHERN DISTRICT OF NEW YORK

ISABEL TAVERAS ,

Plaintiff,
22-cev-4438 (JGK)
- against —
ORDER

BEST BUY HEALTH, INC.,

Defendant.

JOHN G. KOELTL, District Judge:
_.. 1 having been reported to this Court that the parties have
settled this action, it is, on this 7th day of September, 2022,
hereby ordered that this matter be discontinued with prejudice
but without costs; provided, however, that within 30 days of the
date of this order, counsel for the plaintiff may apply by
detter for restoration of the action to the calendar of the

undersigned, in which event the action will be restored.

Any application to reopen must be filed within thirty (30)

_days of this order; any application to reopen filed thereafter

may be denied solely on that basis. Further, if the parties wish
for the Court to retain jurisdiction for the purpose of
enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same thirty-day
period to be so-ordered by the Court. Unless the Court orders

otherwise, the Court will not retain jurisdiction to enforce a

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settlement agreement unless it is made part of the public
record,

All pending motions are dismissed as moot. All conferences
are canceled. The Clerk of Court is directed to close this case.
SO ORDERED.

Dated: New York, New York

mber 7, 2022 TY Mf
Nom Toe MS Le Nbe.

oo John G. Koeltl
United States District Judge

